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                        IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE SOUTHERN DISTRICT OF TEXAS

In re:                                                 :
                                                       :
                                                       :       Chapter 11
HOUSTON REGIONAL SPORTS                                :
NETWORK, L.P.                                          :
              Alleged Debtor.                          :       Case No.: 13-35998
                                                       :
                                                       :

                   PETITIONING CREDITORS’ MOTION TO SEAL EXHIBITS
                     CONTAINING CONFIDENTIAL RATE INFORMATION

          At the hearing in this matter conducted on October 28th and 29th, 2013 (the “Hearing”),

the Court pre-admitted certain exhibits containing confidential business information, specifically

rate card and related information in connection with offers and counter-offers for affiliation

agreements and proposed affiliation agreements with potential distributors of Houston Regional

Sports Network, L.P. (the “Alleged Debtor” or the “Network”). Because the information is

highly sensitive and would cause competitive harm to the Network if publicly disclosed, Houston

SportsNet Finance, LLC, Comcast Sports Management Services, LLC, National Digital

Television Center, LLC, and Comcast SportsNet California, LLC (collectively, the “Petitioning

Creditors”) move the Court to enter an order sealing certain portions of these specific exhibits.

                                   JURISDICTION AND VENUE

          1.       This Court has jurisdiction over the subject matter of this motion pursuant to 28

U.S.C. §§ 157 and 1334. This matter is a core proceeding under 28 U.S.C. § 157(b). Venue is

proper in this district pursuant to 28 U.S.C. §§ 1408 and 1409.




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                                             ARGUMENT

          2.       Section 107(b)(1) of the Bankruptcy Code provides that “[o]n request of a party in

interest, the bankruptcy court shall … (1) protect an entity with respect to a trade secret or

confidential research, development, or commercial information.” 11 U.S.C. § 107(b)(1).

          3.       Bankruptcy Rule 9018 implements Section 107(b) of the Bankruptcy Code and

similarly provides that the Court may make any order justice requires to protect the estate or any

entity in respect of a trade secret or other confidential research, development, or commercial

information. See In re Meyrowitz, No. 06-31660-bjh-11, 2006 WL 6544093, at *2 (N.D. Tex.

Bankr. Oct. 27, 2006).

          4.       A party seeking to prevent public disclosure of confidential information “must

show that the information … is ‘confidential’ and ‘commercial’ in nature.” Id. (citing In re

Orion Pictures Corp., 21 F.3d 24, 27 (2d Cir. 1994)). However, “[c]onfidential commercial

information does not need to rise to the level of trade secret in order to obtain protection under

§ 107(b)(1).” Id. (citing Orion Pictures, 21 F.3d at 28). Rather, information may be protected if

its disclosure “could reasonably be expected to cause the entity commercial injury.” Id. (citing

In re Northstar Energy, Inc., 315 B.R. 425, 428-429 (E.D. Tex. Bankr. 2004)). Such injury

includes giving an “‘unfair advantage to competitors by providing them information as to the

commercial operations of the debtor.’” Orion Pictures, 21 F.3d at 28 (quoting In re Intel Corp.,

17 B.R. 942, 944 (9th Cir. B.A.P. 1982)).

          5.       No entity need be adjudged a debtor before an order to protect confidential

information can be entered. See Northstar Energy, Inc., 315 B.R. at 429. And courts have

extended the protections of Rule 107(b)(1) to creditors whose information was at risk of being

disclosed. See id. (citing In re Nunn, 49 B.R. 963 (Bankr. E.D. Va. 1985)).

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          6.       Finally, as courts have recognized, “if the information fits any of the specified

categories [in Section 107(b)], the court is required to protect a requesting interested party and

has no discretion to deny the application.” Orion Pictures, 21 F.3d at 27 (citing 2 COLLIER ON

BANKRUPTCY, P 107.01, at 107-2 (15th ed. 1993)); accord, e.g., Northstar Energy, 315 B.R. at

428 (“§ 107(b) mandates the protection of certain types of information.”).

A.        The Rate Card and Related Information Is Confidential Commercial Information
          and Should Be Sealed to Prevent Competitive Harm to the Network.

          7.       Under the foregoing standards, the rate card information at issue (as well as

information derivative of such rate card information) should be protected from public disclosure

because, if disclosed, such information would cause competitive injury to the Network.

          8.       Since before its launch, the Network has been engaged in negotiations with

potential distributors regarding carriage of the Network, including with respect to the rates that

distributors would pay for the Network’s programming.            Those negotiations have included

proposals and counter-proposals regarding per-subscriber rates that the Network would charge

potential distributors to carry the Network.

          9.       As testimony at the Hearing demonstrated, the rates the Network can secure from

distributors are central to the Network’s commercial viability.            Furthermore, testimony

established that it has been the experience of Comcast’s Executive Vice President of Content

Distribution that once a single distributor agrees to an affiliation agreement with a network, other

distributors frequently follow suit.

          10.      Allowing potential distributors to know the rates that were being internally

considered in connection with the negotiations or the rates that were offered to other distributors

would impair future negotiations, including, for example, potentially setting a rate ceiling on


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future negotiations. This potentially would reduce the amount of revenue that the Network could

generate if a distributor or distributors otherwise would have agreed to carry the Network at a

higher price.

          11.      Accordingly, the rate information is unquestionably “‘information as to the

commercial operations of the debtor’” that should be protected. Orion Pictures, 21 F.3d at 28

(quoting In re Intel Corp., 17 B.R. at 944); see also id. at 27-28 (affirming bankruptcy court’s

decision to allow license agreement to be sealed: “disclosing the sealed information, including

the overall structure, terms and conditions of the McDonald’s Agreement, renders very likely a

direct and adverse impairment to Orion’s ability to negotiate favorable promotion agreements

with future customers, thereby giving Orion’s competitors an unfair advantage”).

          12.      In addition, the Network and others in this industry recognize the confidential

nature and commercial sensitivity of this kind of information in their own contracts.         For

example, the affiliation agreements with distributors who have agreed to carry the Network

provide that the terms of those agreements, including rate information, should not be disclosed

publicly. Moreover, the Network and its owners have maintained the confidentiality of rate

information during the negotiation process with potential distributors, taking steps to protect it

from being disclosed publicly. Among other things, proposals and counter-proposals by the

Network were made with the express understanding that the terms of such offers would be

maintained confidentially by the potential distributors.

B.        Admitted Exhibits Should Be Sealed.

          13.      At the Hearing, the parties provided the Court with binders of exhibits (the

“Hearing Binders”). These Hearing Binders included (1) a binder of exhibits designated “Joint

Exhibits”; (2) a binder of exhibits designated “Petitioning Creditors’ Exhibits”; and (3) a binder

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of exhibits designated “Astros’ Exhibits.” The Astros and the Petitioning Creditors stipulated as

to admissibility of all of the exhibits in each of the Hearing Binders, and all of the exhibits were

pre-admitted into evidence. Certain of the exhibits in the Hearing Binders contain rate card

information (and information derivative of such rate card information) that is the subject of this

motion. In their presentations to the Court during the Hearing, both the Petitioning Creditors and

the Astros to maintained the confidentiality of the rate information reflected in those exhibits.

The confidential rate information was never displayed or otherwise disclosed in open court by

either party.

          14.      In light of the commercially sensitive nature of the rate information and the harm

that public disclosure of such information would cause to the Network, the Petitioning Creditors

respectfully request that the Court seal any exhibits which contain confidential rate card

information and not make publicly available any unredacted exhibits from the Hearing Binders

which contain such information. The exhibits that contain confidential rate card information are

identified in Exhibit A to this Motion.

          15.      So that the Court has a set of exhibit binders that can be made available as part of

the public record, the Petitioning Creditors will provide the Court with new binders containing

copies of the Joint Exhibits, the Petitioning Creditors’ Exhibits and the Astros’ Exhibits, with the

exhibits listed on Exhibit A redacted to conceal rate-related information (collectively, the

“Redacted Binders”). These Redacted Binders will be provided to the Court as soon as possible,

following their review by counsel to Houston Astros, LLC, Astros HRSN GP Holdings LLC and

Astros HRSN LP Holdings LLC (collectively, the “Astros”).                  The Petitioning Creditors

respectfully request that only the exhibits contained in the Redacted Binders, and not the exhibits



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from the Hearing Binders (which contain unredacted versions of the exhibits listed in Exhibit A),

be made available for public inspection.1

                                              CONCLUSION

          For the foregoing reasons, the Petitioning Creditors’ motion to seal exhibits containing

confidential information should be granted.


                                                         Respectfully submitted,


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Dated: November 12, 2013



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  Separately, the Petitioning Creditors understand that, during the hearing, the Court may have rearranged or
removed some of the exhibits in the Hearing Binders originally provided to the Court at the Hearing. Accordingly,
for the Court’s convenience, the Petitioning Creditors will also provide additional copies of the Hearing Binders
(again, following review by the Astros), containing complete, unredacted versions of the trial exhibits. In
accordance with this motion, the Petitioning Creditors respectfully request that these additional copies of the
Hearing Binders not be made public in order to prevent disclosure of the confidential rate-related information.

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